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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 10-80047-CIV-MARRA

 METROPOLITAN LIFE
 INSURANCE COMPANY,

        Plaintiff,

 vs.

 ROGER FOLEY,

       Defendant.
 _____________________________________/

                                             ORDER

        This cause is before the Court upon Plaintiff’s Notice of Voluntary Dismissal (DE 5).

 The Court has carefully considered the Notice and is otherwise fully advised in the premises.

        Accordingly, it is hereby ORDERED AND ADJUDGED that the case is CLOSED and

 all pending motions are denied as moot.

        DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

 Florida, this 7th day of April, 2010.



                                              ______________________________________
                                              KENNETH A. MARRA
                                              United States District Judge

 Copies to:

 all counsel of record
